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      Case 1:14-cv-21385-JAL Document 200 Entered on FLSD Docket 10105/2015 Page 1 of 1

                           ELEVENTH CIRCUIT TRANSCRIPT INFORMATION FORM
      PART I.                                    TRANSCRIPT ORDER INFORMATION
      Appel/ani to complete andfile with the District COllrt Clerk and the Court ofAppeals Clerk within 14 days ofthe filing ofthe notice of
      appeal in all cases, including those in which there was no hearing orfor which no transcript is ordered.

      Short Case Style: Wreal, LLC, A Florida Liability Company                            vs Amazon.com, Inc.. A Delaware Corporation
      District Court No.: 14-CV-21385-JAL                 Date Notice of Appeal               9129/15          Court of Appeals NO.:_1_5-_14_3_9_0_ __


I
j
      CHOOSE ONE:                0 No hearing 0 No transcript is required for appeal purposes 0 All necessary transcript(s) on file
                                 iii I AM ORDERING A TRANSCRIPT Of THE FOLLOWING PROCEEDINGS:
                                                                                                                                          (If Available)




I
      Check appropriate box(es) and provide all information requested:
                                         HEARING DATE(S)                         JUDGE/MAGISTRATE                          COURT REPORTER NAME(S)
      iii Pre-Trial   Prc'Ce(~iIlgs___1~2:::./3!:::O::12~01~4~_ _ _ _ _ _ _....:J~o~na~th~a~n~G~o~od::..:m~a~n~_ _ _ _ _~G~iz~e~lIa~B~a~a~n-~P~ro~ul~x_ _ _ __

      o
      O~ent.ence      _________________________________________________________

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      o
      METHOD OF PAYMENT:
      iii I CERTIFY THAT I HA VE CONTACTED THE COURT REPORTER(S) AND HA VE MADE SATISF ACTORY
          ARRANGEMENTS WITH THE COURT REPORTER(S) fOR PA YING THE COST OF THE TRANSCRIPT.
      o   CRIMINAL JUSTICE ACT. Attached for submission to District Judge/Magistrate is my completed CJA Form 24 requesting authorization
          tor government payment oftrsnscript. [A transcript of the following proceedings will be provided ONLY IF SPECIFICALLY AUTI:lORIZED
          in Item 13 on CJA Form 24: Voir Dire; Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions.)

      Orderi[]g Counsel/Party:    _W_f_ea_I,_L_LC
                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _'-­
      Name of Firm: _W_N_F_--:...P_,_L._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      Address: 1111 Brickell Ave, Suite 2200 Miami. FL 33131_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      E-mail:   df@wnflaw.com                          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Phone No.: 305-760-8500
                                                                                Clerk and the Court ofAppeals Clerk, sent a copy to the appropriate Court


      DATE: 10105115                 SIGNED:-4~~f:A.-~bf__4/c,;..J_b"'H-'......,-+-_--- Attorney for:_W_r_ea....;I,_L_LC
                                                                                                                       _ _ _ _ _ _ __

      PART II.                               COURT REPORTER ACKNOWLEDGMENT
      Cour, Reporter to complete andfile with the District Court Clerk within 14 days ofreceipt, The Court Reporter shall send a copy to
      the Court ofAppeals Clerk and to all parties,
     ,Date Transcript Order received:
     ~ Satisfactory arrangements for paying the cost of the transcript were completed on:        " ,,'--'-----=-_0
                                                                                                                    ~
                                                                                                                 _ ___
                                                                                                                       I     II I
    Q'[) Satisfactory arrangements for paying the cost of the transcript have not been made.
     No. of hearing                      Estimated no. of transcript pages:                Estimated filing date: _ _ _ _ __
     DATE:                    SIGNED:                                                      Phone
     NOTE: The transcript is due to be filed within 30 days of the date satisfactory arrangements for paying the cost of the
     transcript were completed unless the Court Reporter obtains an extension oftime to file the transcript.

     PART III.           NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
     Court Reporter to complete andfile with the District Co urI Clerk on date offiling transcript in District Court. The Court
     Reporter shall send a copy to the Court ofAppeals Clerk on the same date,
     This is to certify that the transcript has been completed and filed with the district court on (date): _ _.....;..__---'-l___   lb -,(1_15"
     Actual No. of_VoP1:es ~ Hearing Dates:_                                     M (           t L.­   ~ D-     J
     Date:      lo         VI IS              Signature of Court       Reporter:_-/-Wl,,=,~.p....,_ _-II---;-_ _ _ _ _ _ _ _ __
                                                                                                                                                    Rev. 5114
